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                UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF COLUMBIA


                                         §
JOHNSON & JOHNSON HEALTH CARE            §
SYSTEMS INC.,                            §
          Plaintiff,                     §
                    v.                   §     Case No. 1:24-cv-3188-RC
                                         §
ROBERT F. KENNEDY Jr., et al.,           §
                                         §
           Defendants.                   §



      MOTION OF 340B HEALTH, UMASS MEMORIAL MEDICAL CENTER,
       AND GENESIS HEALTHCARE SYSTEM FOR LEAVE TO FILE AN
         OVERSIZED AMICUS BRIEF IN SUPPORT OF DEFENDANTS
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       Proposed Amici Curiae 340B Health, UMass Memorial Medical Center (UMass) and

Genesis HealthCare System (Genesis) respectfully request leave to file the attached amici curiae

brief in support of Defendants. Amici are also submitting a Proposed Order.

       In support of this motion, 340B Health states as follows:

   1. 340B Health, UMass, and Genesis have moved to intervene as Defendants in this case.

Because their Motion to Intervene is still pending, 340B Health, UMass, and Genesis are

submitting their Cross Motion for Summary Judgment and Opposition to Plaintiff’s Motion for

Summary Judgment as an amici curiae brief to ensure that the Court has timely access to the

information and arguments that Proposed Amici can provide. However, 340B Health, UMass and

Genesis strongly believe that participation as amici in this case is insufficient, and the present

Motion for Leave to File an amici curiae brief does not represent a withdrawal of their Motion to

Intervene or waiver of any argument presented in their Motion to Intervene.

   2. Proposed Amicus 340B Health is a membership organization of more than 1,600 public

and private nonprofit hospitals participating in the federal 340B drug pricing program (“340B

Program”). See 42 U.S.C. § 256b. It is seeking leave to submit an amici curiae brief to provide

the Court with the perspectives of 340B Hospitals on the important issues raised in this case.

   3. Proposed Amici UMass and Genesis are hospitals that are eligible to receive benefits

under the 340B Program (340B Hospitals).

   4. While there is no Federal Rule of Civil Procedure that controls motions for leave to

appear as amici curiae in federal district court, the District Court for the District of Columbia

Local Rule 7(o) governs the requirements for amicus briefs. Under that Rule, a motion for leave

to file an amicus brief should state the nature of the movant’s interest; identify the party or

parties supported; and set forth reasons why an amicus brief is desirable, why the movant’s



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position is not adequately represented by a party, and why the matters asserted are relevant to the

disposition of the case. LCvR 7(o)(2). “A motion for leave to file an amicus brief should also be

filed in a timely manner, such that it does not unduly delay the Court’s ability to rule on a

pending matter.” Id. For the reasons set forth below, Proposed Amici satisfy these requirements.

   5. Proposed Amici should be granted leave to file the accompanying brief because 340B

Health’s members, including UMass and Genesis, rely on 340B discounts for 340B drugs to

support health care programs and services they offer to meet the needs of underserved

populations. The 340B discounts allow 340B Hospitals to: (1) provide and maintain more patient

care services; (2) provide and maintain more uncompensated and unreimbursed care; (3) provide

and maintain more services in underserved areas; (4) develop and maintain targeted programs to

serve vulnerable patients; and (5) keep their doors open. Should Plaintiff’s proposed rebate

model be permitted to proceed, 340B Hospitals’, including Proposed Amici UMass and Genesis,

financial ability to support those services and keep their doors open will be impaired. The

Court’s ruling in this case will therefore have a direct impact on Proposed Amici UMass and

Genesis and members of Proposed Amicus 340B Health, underlying the value of their

participation in the case. Therefore, Proposed Amici have a strong interest in the success of

Defendants’ denial of Plaintiff’s proposed rebate model, which is at issue in this case.

   6. Additionally, the attached amicus brief is desirable and asserts matters relevant to the

disposition of the case. As experts who receive, or whose members receive, 340B benefits,

Proposed Amici are uniquely qualified to explain how the Plaintiff’s proposed rebate model

harms 340B covered entities and the complexities of the product replenishment system, which

Plaintiff discusses in its pleadings. As such, Proposed Amici offer perspectives on the issues that




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the existing parties cannot provide, which will aid the Court in its ultimate resolution of the

present dispute.

   7. The Government Defendants will not adequately represent the interests of Proposed

Amici because they do not have access to the same data and experience that Proposed Amici have

regarding the 340B Program, have different financial interests, and may present different legal

arguments that will directly bear on the disposition of this case.

   8. Furthermore, this Motion is timely and will not cause any delay in the Court’s decision

because it is being filed at the same time as Defendants’ response to Plaintiff’s Motion for

Summary Judgment.

   9. In accordance with Local Rule 7(o)(5), 340B Health, UMass and Genesis confirm that

they are not corporations that have any outstanding securities in the hands of the public; that no

party’s counsel authored this brief in whole or in part; that no party or party’s counsel

contributed money that was intended to fund preparing or submitting this brief; and that no

person other than Proposed Amici, its members, or its counsel contributed money that was

intended to fund preparing or submitting this brief.

   10. Proposed Amici also request that the page limit set forth in Local Rule 7(o)(4) be

extended by 10 pages given the complexity of the issues presented, and the potential impact that

resolution of the case will have on amici and their members.

   11. Pursuant to Local Rules 7(m) and (o), 340B has contacted counsel for both Plaintiff and

Defendants. Plaintiff has consented to this motion and the page number extension and

Defendants have indicated that they have no position as to this motion.




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                                            CONCLUSION

         For these reasons, 340B Health, UMass, and Genesis respectfully request that they be

granted leave to file the attached amicus curiae brief and that the page limit be extended by 10

pages.



 Dated: April 2, 2025                             Respectfully submitted,




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